Case 2:05-cv-02028-.]DT-STA Document 11 Filed 07/29/05 Page 1 of 2 Page|D 20

 

 

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WESTERN DISTRICT OF TENNESSEE `“'"//;/:;` é}gd)/}*¢@ 08
Eastern Division '“iif@]/ /\

JUDGMENT IN A CIVIL CASE

JERRY T. BURKE
V.

STATE OF TENNESSEE, ET AL., CASE NU|VIBER: 1105-2028-`|'/An

Decision by Court. This action came to Consideration before the Court. The issues
have been considered and a decision has been rendered

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 7/14/2005, this case is hereby D|SM|SSED Without
prejudice , pursuant to 42 U.S.C. § 1997 e(a). lt is also CERTIF|ED that any Appea| by
plaintiff is not taken in good faith.

APPROVED:

Ozi/M/). e»/M

JAM D. TODD
UN ED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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DATE/ " DEPUTY CLERK

This document entered on the docket sheet in compliance

with Ruie 58 and/or 79(3) FRCP on O‘L’>'CQ ‘05 . »\
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This notice confirms a copy of the document docketed as number 11 in
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August 2, 2005 to the parties listed.

 

Jerry T. Burke
NWCX

142942

960 State Route 212
Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

